                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                CASE NO. 1:19-cv-661

AUTUMN DAVIS,                        )
                                     )
           Plaintiff,                )
                                     )
v.                                   )                                COMPLAINT
                                     )
UNIVERSITY OF NORTH CAROLINA AT      )
GREENSBORO, THE BOARD OF GOVERNORS )
OF THE UNIVERSITY OF NORTH CAROLINA, )
and RALEIGH SCHOOL OF NURSE          )
ANESTHESIA,                          )
                                     )
           Defendants.               )
                                     )

       Plaintiff Autumn Davis (“Ms. Davis”) files this Complaint against Defendants University

of North Carolina at Greensboro (“UNCG”), The Board of Governors of the University of North

Carolina (“UNC Board”) and Raleigh School of Nurse Anesthesia (“RSNA”).

                                PRELIMINARY STATEMENT

       Surely in today’s society, a female student can trust her academic institution –

particularly one that has charged her tens of thousands of dollars in tuition – not to foster an

environment where, among other things, male individuals rub their erect genitalia upon the

student while performing clinical work towards her post-graduate degree. That same student

also should feel safe after bravely and promptly reporting such disgusting sexual misconduct to

appropriate individuals. These are not controversial statements. Rather, they constitute absolute

minimum standards that should govern any rational, non-dysfunctional institution. The

Defendants in this case disagree.

       For more than two years now, the Defendants (actively or passively) have engaged in a

comprehensive intimidation and retaliation campaign against Ms. Davis that should terrify any




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student in higher education. Simply put, the UNC Board and its member institutions far too

often blindly condone outdated philosophies instead of enacting meaningful change. Ms. Davis

is the latest victim of these systemic failures, which need to be corrected immediately. It is for

these reasons that Ms. Davis is filing the instant lawsuit.

                            PARTIES, JURISDICTION & VENUE

        1.      Defendant UNCG is a component of the University of North Carolina, a state

institution and government body, established pursuant to the laws of the State of North Carolina.

UNCG is located within this District.

        2.      UNCG is a recipient of federal financial assistance for purposes of Section 504 of

the Rehabilitation Act (“Section 504”) and a public entity for purposes of Title II of the

Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12132(1)(B).

        3.      As a public university, UNCG is a “person” subject to suit within the meaning of

42 U.S.C. § 1983 (“Section 1983”).

        4.      Defendant UNC Board is the policy-making body legally charged with the

general determination, control, supervision, management and governance of all affairs of the

constituent institutions.

        5.      The UNC system is a single, unified state agency and the UNC Board has

supervisory authority over the UNC system’s member-institutions, including UNCG. Based

upon these and other facts, the UNC Board and UNCG are joint entities and/or constitute a single

entity under Title IX of the Education Amendments Act of 1972 (“Title IX”) and other

applicable laws.

        6.      Defendant RSNA is a non-profit corporation duly organized under the laws of the

State of North Carolina. On information and belief, RSNA’s website appears linked to UNCG’s




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website and states that “[e]stablished in 1990, Raleigh School of Nurse Anesthesia was founded

through the cooperative efforts of Rex Healthcare, WakeMed Raleigh, and Duke Raleigh

Hospital due to the growing need of Certified Registered Nurse Anesthetists (CRNA) in North

Carolina. RSNA’s 36-month clinical and didactic curriculum offers students the opportunity to

develop into safe and competent CRNA’s by providing a course of study that encourages lifelong

learning in the practice of nurse anesthesia.”

        7.     RSNA is a joint/single entity with UNCG under applicable law and otherwise

acted in concert with UNCG or others as it relates to the unlawful conduct alleged herein.

        8.     The Defendants in this case: (i) implemented and executed policies and customs

resulting in the deprivation of Ms. Davis’ constitutional, statutory and common-law rights; (ii)

were responsible for ensuring that their employees are properly trained and supervised to

perform their jobs; (iii) are responsible for the acts and omissions of their employees; (iv) were

aware that Ms. Davis suffered sex-based discrimination and retaliation during the relevant time-

period; (v) exhibited deliberate indifference to the unlawful discrimination and retaliation alleged

herein; (vi) failed to provide employees with appropriate sexual harassment training as required

by Title IX and applicable law; and (vii) created and/or condoned an educational environment

allowing employees to suppress and joke about sexual harassment allegations instead of

conducting appropriate investigations and implementing corrective action.

        9.     Ms. Davis is a thirty-plus year old, Caucasian female. She resides within this

District.

        10.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and/or other law, which give district courts jurisdiction over all civil actions arising under

the Constitution, laws or treaties of the United States. Claims are asserted under the laws of the




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United States as well as pursuant to 28 U.S.C. § 1343(a)(4), in that claims are asserted under a

law providing for the protection of civil rights. Further, this action asserts federal questions

under Section 504, Title II of ADA and Title IX, as more fully set forth herein.

       11.     The Court further has jurisdiction under 42 U.S.C. § 1983 as this action seeks

damages against Defendants for committing acts, under color of state law, with the intent and for

the purpose of: (i) depriving Ms. Davis of rights secured under the Constitution and the laws of

the United States; (ii) depriving Ms. Davis of procedural and substantive due process in

conjunction with her dismissal from UNCG’s Doctor of Nursing Practice program.

       12.     The declaratory and injunctive relief sought in this matter is authorized by 28

U.S.C. §§ 2201-02 and Federal Rules of Civil Procedure 57 and 65.

       13.     Venue lies in this Court pursuant to 28 U.S.C. § 1391 and/or other law. The acts

and omissions giving rise to the causes of action alleged herein occurred in this District.




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                                 FACTUAL ALLEGATIONS

I.      In 2015, Ms. Davis Enrolls In UNCG’s Doctor Of Nursing Practice Program

        14.    Ms. Davis has spent most of her adult life working towards a career goal of

becoming a Certified Registered Nurse Anesthetist (“CRNA”). She graduated from Clemson

University in 2006 with a BSN in Nursing. For almost the next decade, she gained substantial

experience in the medical field, with particular emphasis on anesthesia work.

        15.    In August 2015, Ms. Davis enrolled in UNCG’s Doctor of Nursing Practice

(“DNP”) program seeking to obtain a Master’s of Science in Nursing (“MSN”) degree with a

concentration in nurse anesthesia. As part of the DNP program, Ms. Davis also enrolled at

RSNA, a non-profit associated with UNCG’s program. This was an exciting time for Ms. Davis,

as completion of the three-year DNP program was the last step in her academic path before she

could pursue lucrative job opportunities.

        16.    The DNP program requires, among other things, the completion of academic

courses and practicum courses, which are to be completed in a supervised clinical setting through

RSNA.

        17.    Specifically, and as it relates to practicum courses, UNCG and RSNA assigned

Ms. Davis to perform clinical work at local North Carolina hospitals – including Rex Hospital

and WakeMed Hospital – as a Student Registered Nursing Anesthetist. When performing

clinical work, Ms. Davis was supervised by a CRNA (also referred to as a supervising preceptor)

employed at the attending hospital.




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II.    Key Individuals At UNCG And The UNC Board

       18.     Dr. Robin Remsburg is the Dean of UNCG’s School of Nursing. In this capacity

and as a state actor, she had final discretion to make decisions, take action and/or develop

policies on UNCG’s behalf. She also had final discretion to decide the internal appeals described

herein that were lodged by Ms. Davis.

       19.     Dr. Kelly Burke is the Dean of UNCG’s Graduate School. In this capacity and as

a state actor, she had final discretion to make decisions, take action and/or develop policies on

UNCG’s behalf. She also had final discretion to decide the internal appeals described herein that

were lodged by Ms. Davis.

       20.     Dr. Franklin D. Gilliam, Jr. is UNCG’s Chancellor. In this capacity and as a state

actor, Dr. Gilliam oversees all policies and procedures for the university. He had final discretion

to make decisions, take action and/or develop policies on UNC. He also had final discretion to

make decisions relating to Ms. Davis’ enrollment at UNCG.

       21.     As early as August 2018 and on multiple occasions thereafter, Ms. Davis

complained directly to Chancellor Gilliam about the unlawful conduct summarized herein. The

Chancellor never responded to Ms. Davis’ complaints.

       22.     Jerry D. Blakemore is UNCG’s General Counsel and serves as a state actor in this

capacity. At all relevant times, Mr. Blakemore and/or UNCG’s Legal Department office have

been (or should have been) aware of the unlawful conduct described herein, but have taken no

action to investigate or remedy the conduct.

       23.     Harry Smith, Jr. is the Chair of the UNC Board and serves as a state actor in this

capacity. At all relevant times, Mr. Smith and/or the UNC Board have been (or should have

been) aware of the unlawful conduct described herein, but have taken no action to investigate or




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remedy the conduct.

       24.     Thomas C. Shanahan is the Senior Vice-President and General Counsel for the

UNC Board and serves as a state actor in this capacity. At all relevant times, Mr. Shanahan

and/or the UNC Board’s Legal Department have been (or should have been) aware of the

unlawful conduct described herein, but have taken no action to investigate or remedy the

conduct.

III.   Defendants’ History Of Turning A Blind Eye Towards Sexual Harassment And
       Engaging In Unlawful Retaliation

       25.     UNCG’s website boasts that its DNP program “has a diverse and experienced

faculty who are committed to excellence in teaching and support of students.” It appears that the

phrase “support of students” should be taken with a grain of salt.

       26.     On information and belief: (i) before July 2016, multiple female students in the

DNP program lodged sexual harassment and/or related complaints while training as Registered

Nurses at local North Carolina hospitals; (ii) some or all of these complaints were made against

the same male CRNA, who on information and belief continues to remain employed within the

UNC Healthcare System; and (iii) each of the named Defendants were aware and/or should have

been aware of the pre-July 2016 complaints.

       27.     Simply put, female students in the DNP program have a history of suffering

sexual harassment, which was known or should have been known by each of the Defendants.

       28.     Even worse, some or all of the Defendants have a history of blatantly retaliating

against (or allowing retaliation to be taken against) UNCG students who engage in protected

conduct by, among other things, reporting unlawful discrimination. In fact, one such case was

pending before the Court until recently. See Emanuelson v. The University of North Carolina at

Greensboro, et. al., Case No. 17-534 (M.D.N.C.).



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       29.       At all relevant times, UNCG (including but not limited to its Human Resources

Department, its Legal Department and its General Counsel Jerry Blakemore), the UNC Board

(including but not limited to its General Counsel Thomas Shanahan) and RSNA were and have

been aware of the unlawful sexual harassment and retaliation alleged herein, and have refused to

take appropriate steps to investigate and remedy the unlawful conduct.

IV.    UNCG Applies Its Student Appeal Procedures Inconsistently, Inappropriately
       And/Or In Bad-Faith

       30.       During the relevant time-period, UNCG – with the knowledge and/or consent of

the UNC Board -- has repeatedly and intentionally: (i) failed to timely process student appeals;

(ii) operated its student appeal procedures in an unfair and inequitable manner; and (iii)

otherwise failed to administer its student appeal procedures in a manner that affords due process

under the law.

       31.       To the contrary, UNCG has unlawfully manipulated its own processes and

procedures to confuse students and ensure that valid disputes are not brought to the attention of

the appropriate bodies.

       32.       Because of how UNCG implements its student appeal procedures, as alleged

herein, UNCG’s student appeal procedures are a “sham” and do not provide an appropriate

procedural mechanism for resolving disputes, under the due process clause or otherwise.

       33.       There are no binding administrative remedies applicable to Ms. Davis’ dispute

with Defendants.

       34.       Some or all of the Defendants have waived any potential defense of state

sovereign immunity based upon the allegations contained herein.




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V.     Ms. Davis Experiences Substantial Sexual Harassment And Bravely Reports The
       Harassment To UNCG

       35.       Dr. Nancy Shedlick is the Program Administrator in charge of UNCG’s DNP

program. Dr. Shedlick’s husband, Ray Shedlick, was (and, on information and belief, still is) the

Director of Anesthesia at Rex Hospital, one of the hospitals where Ms. Davis performed her

clinical work.

       36.       Dr. Linda Stone is the RSNA Assistant Program Administrator of the DNP

program and one of Dr. Shedlick’s direct reports.

       37.       In July 2016, and as part of her clinical studies for the DNP program, UNCG

assigned Ms. Davis to work as a Student Registered Nursing Anesthetist at WakeMed Raleigh

Hospital. During this period, Ms. Davis was supervised by a particular male CRNA.

       38.       Throughout the time Ms. Davis performed her clinical work at WakeMed

Raleigh, the particular male CRNA repeatedly: (i) made sexually suggestive and otherwise

inappropriate jokes to Ms. Davis. For example, on one occasion where a female patient was

under anesthesia, the male CRNA stated in front of Ms. Davis that, “man, the surgeon can take

as long as he wants in this case, it’s a nice view. When I saw her tits, I mean man.”; (ii) asked

Ms. Davis to strip for him; (iii) asked Ms. Davis out on dates, even after she asked him to stop

doing so; and, most disturbingly (iv) pushed his erect penis against Ms. Davis’ body while she

was working.

       39.       On information and belief, and based upon information provided to Ms. Davis at

the time, other former/current DNP program students had lodged complaints about unlawful

sexual discrimination towards them and Defendants were otherwise aware that the DNP program

had a propensity for condoning unlawful sexual harassment.

       40.       Like any reasonable person, Ms. Davis was mortified by the particular male



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CRNA’s conduct and suffered substantial distress as a result, to the point of being diagnosed

with anxiety and depression.

       41.     Nevertheless, she bravely and promptly reported this unlawful conduct (including

the sexual harassment and physical assault referenced above) to Dr. Shedlick and Dr. Stone in

July 2016.

       42.     Dr. Shedlick’s and Dr. Stone’s response to Ms. Davis’ complaint was telling and

consistent with Defendants’ history of unlawful conduct, as alleged herein. Specifically, upon

receiving Ms. Davis’ complaint, and instead of expressing sympathy for Ms. Davis and/or

acknowledging that corrective action would occur: (i) Dr. Stone pointedly asked Ms. Davis, “are

you sure you want to make this type of complaint?” in an attempt to intimidate Ms. Davis and

otherwise cause her to withdraw her complaint; (ii) Dr. Shedlick and Dr. Stone intentionally

downplayed the particular male CRNA’s conduct and tried to claim it somehow was

“accidental.”; and (iii) Dr. Shedlick and Dr. Stone pressured Ms. Davis not to share her

complaint with anyone else.

       43.     Ms. Davis did not withdraw her complaint and yet no meaningful investigation of

the complaint ever occurred.

       44.     Incredibly, on approximately October 31, 2016, Defendants assigned Ms. Davis to

work with the particular male CRNA for her clinical work. Ms. Davis again complained,

including to Shelly Schaad (Chief CRNA at the hospital) and asked why she was assigned to the

male CRNA notwithstanding his past conduct towards her. Ms. Schaad advised that neither Dr.

Shedlick, Dr. Stone nor anyone else had advised her or the hospital about Ms. Davis’ sexual

harassment complaint and/or that the hospital should restrict interactions between Ms. Davis and

the male CRNA. Ms. Schaad then directed Ms. Davis to speak again to Dr. Shedlick and Dr.




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Stone and obtain their authorization for restrictions on her contacts with the male CRNA.

          45.   Ms. Davis followed Ms. Schaad’s instructions, including by sending an email

dated November 1, 2016. In that email, Ms. Davis explicitly advised Ms. Stone that “[e]very

encounter with [the male CRNA] has escalated, and the last encounter left me feeling sexually

exploited for weeks.”

          46.   Ms. Stone provided no support to Ms. Davis. Instead, she and Dr. Shedlick

reprimanded Ms. Davis for going “outside the chain of command” by bringing this issue to Ms.

Schaad’s attention. Ms. Stone further stated that notwithstanding all that had occured, Ms. Davis

needed to understand that “you may work with [the male CRNA] when assigned to Wake as he

works the call schedule. This means that you may be assigned with him on off-shifts.”

VI.       UNCG Further Discriminates Against Ms. Davis In Violation Of The Americans
          With Disabilities Act

          47.   Ms. Davis suffers from ADHD and is otherwise protected by the ADA and

Section 504. This has been known to some or all of the Defendants during the relevant time-

period.

          48.   Based upon her protected condition, Ms. Davis requested reasonable

accommodations from UNCG, including extended time for completing exams and placement in a

quiet environment when taking exams to limit interruptions.

          49.   Although UNCG ostensibly “granted” Ms. Davis’ accommodation requests, it

intentionally took steps to ensure the accommodations were not implemented properly. Indeed,

Dr. Stone and Dr. Shedlick (among others) repeatedly interrupted Ms. Davis during testing and

otherwise ensured that she did not take exams in a quiet working environment.

          50.   Even worse, Dr. Stone and Dr. Shedlick frequently mocked Ms. Davis’ disability

in front of other students and yelled at Ms. Davis before exams due to her requested



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accommodations. Incredibly, Dr. Stone and Dr. Shedlick then threatened to have Ms. Davis

dismissed from the DNP program if she complained about any of their conduct towards her.

       51.     Notwithstanding Dr. Stone’s and Dr. Shedlick’s ridiculous threats, Ms. Davis

bravely lodged a complaint with UNCG’s Office of Accessibility and Resources Services

(“OARS”) concerning the University’s disability discrimination and retaliation.

       52.     As described more fully below, Dr. Stone and Dr. Shedlick subsequently followed

through on their retaliation threats against Ms. Davis.

VII.   UNCG’s Two-Plus Year Retaliation Campaign Against Ms. Davis

       53.     Based upon the protected conduct summarized above, Defendants’ discriminatory

and retaliatory animus towards Ms. Davis increased exponentially. As a result, and throughout

2017 and 2018, UNCG (through Dr. Shedlick, Dr. Stone and others) engaged in a near daily

campaign to inflict maximum harm upon Ms. Davis, a student who had engaged in protected

conduct under the ADA, Title IX and other laws.

       54.     Simply by way of example, on multiple occasions in 2017 and 2018, UNCG

unlawfully attempted to have Ms. Davis removed from the DNP program and/or pressure her to

quit the program by: (i) continuing to assign Ms. Davis to perform clinical work at WakeMed

hospital (where the male CRNA referenced above worked), sometimes under the male CRNA’s

direct supervision; (ii) having Dr. Shedlick and Dr. Stone falsely claim that Ms. Davis was not

“fit for duty” for DNP program purposes, despite no medical evidence supporting their claims.

This occurred as recently as June 2018; (iii) fabricating documents to make it appear as though

Ms. Davis was not completing her clinical work correctly. This occurred as recently as January

2019; (iv) having Dr. Shedlick and Dr. Stone falsely accuse Ms. Davis of insubordination in June

2018; and (v) having Dr. Shedlick and Dr. Stone repeatedly advise students that they were doing




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everything they could to have Ms. Davis dismissed from the DNP program.

       55.     Consistent with the above, on multiple occasions during 2017 and 2018, Dr.

Shedlick and/or Dr. Stone made comments to Ms. Davis like, “if I can’t get rid of you for this

[latest fabricated reason], I can get rid of you for something else.”

       A.      Ms. Davis’ Unlawful Dismissal From The DNP Program In June 2018

       56.     In June 2018, approximately one (1) month before Ms. Davis was to complete

the DNP program and receive her degree, Dr. Shedlick, Dr. Stone and/or others orchestrated

Ms. Davis’ summary dismissal from the DNP program for knowingly false reasons. The stated

reason for Ms. Davis’ dismissal was unsafe nursing practices – a reason not related to academics.

Thereafter, Ms. Davis timely appealed her dismissal with UNCG’s Appeal Committee.

       57.     At the time of her June 2018 dismissal, Dr. Shedlick, Dr. Stone and others knew

or should have known that Ms. Davis had accepted a lucrative post-graduation job position

starting in November 2018 that was contingent upon Ms. Davis obtaining her Doctor of Nursing

Anesthesia Practice degree.

       58.     Although UNCG scheduled appeal hearings in August 2018 and October 2018, it

conducted the hearings in violation of Ms. Davis’ due process rights under state and federal law,

including N.C. Gen. Stat. § 116-40.11.

       59.     N.C. Gen. Stat. § 116.40.11 states, among other things, that students who are

“accused of a violation of the disciplinary or conduct rules . . . shall have the right to be

represented, at the student’s expense, by a licensed attorney or non-attorney advocate who may

fully participate during any disciplinary procedure or other procedure adopted and used by the

constituent institution regarding the alleged violation.”

       60.     Upon information and belief, the Student Handbook outlining RSNA appeal




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procedures also entitled Ms. Davis to have an attorney present at the relevant appeal hearings.

          61.   At each step of her respective appeals, Ms. Davis advised UNCG that she wanted

to retain and/or had retained counsel to represent her, and further requested that counsel be

permitted to participate in any hearings. In every instance, UNCG summarily denied Ms. Davis’

request, as well as her request for a non-attorney advocate who could fully participate in any

hearings.

          62.   During the appeal hearings: (i) Ms. Davis was not allowed to call or question

witnesses; (ii) UNCG presented evidence not previously disclosed to Ms. Davis before the

hearings; and (iii) UNCG relied upon records that were not part of Ms. Davis’ student file or

otherwise provided to her before the hearings and that were used to support her dismissal from

the DNP program. Even after the hearings, UNCG ignored Ms. Davis’ requests (including

requests made pursuant to FERPA) to provide records that were cited at the appeal hearings.

          63.   As a practical matter, UNCG effectively precluded Ms. Davis from having any

meaningful participation in the appeal hearings, in violation of her constitutional and other

rights.

          64.   In October 2018, UNCG’s Appeals Committee ostensibly upheld Ms. Davis’

appeal and ordered her reinstatement to the DNP program effective January 2019. However, the

procedures contained in the Appeals Committee’s decision concerning Ms. Davis’ purported

remedies were arbitrary, capricious and otherwise in violation of Ms. Davis’ rights.

          65.   As a direct result of the above timeline of events, Ms. Davis lost the opportunity

to commence working at a job in November 2018 that would have paid her more than $150,000

in annual salary. Instead, she had to re-enroll in the DNP program for the Spring 2019 semester

and pay UNCG an additional $10,000 in tuition costs for an extra semester.




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       B.      Only One Month After “Reinstating” Ms. Davis In January 2019, UNCG
               Again Summarily And In Bad-Faith Dismisses Her From The DNP Program

       66.     Between October 2018 and January 2019, UNCG represented to Ms. Davis that it

would implement her reinstatement to the DNP program in good-faith. Ms. Davis reasonably

relied upon UNCG’s material representations and consequently continued to pay tuition and fees

to UNCG for the DNP program.

       67.     Unbeknownst to Ms. Davis, and notwithstanding the Appeals Committee’s

October 2018 decision, UNCG had no intention of reinstating Ms. Davis in good-faith and

instead intended to fabricate reasons for dismissing Ms. Davis again from the program as soon as

possible after her reinstatement.

       68.     In February 2019 – only one month into her “reinstatement” – UNCG again

summarily dismissed Ms. Davis from the DNP program for knowingly false reasons based upon

purported unsafe nursing practices. Again, the dismissal was for reasons other than academics

and was done without affording Ms. Davis the appropriate notice and opportunity to be heard.

       69.     To support its pretextual reasons for summarily dismissing Ms. Davis, UNCG

again altered, falsified and/or destroyed records (including medical records).

       70.     Similar to her first dismissal, Ms. Davis followed the lengthy appeal procedures

promulgated by UNCG and/or RSNA.

       71.     At each step of her respective appeals, Ms. Davis advised UNCG that she wanted

to retain and/or had retained counsel to represent her, and further requested that counsel be

permitted to participate in any hearings. In every instance, UNCG summarily denied Ms. Davis’

request, as well as her request for a non-attorney advocate who could fully participate in any

hearings.

       72.     During the appeal hearings: (i) Ms. Davis was not allowed to call or question



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witnesses; (ii) UNCG presented evidence not previously disclosed to Ms. Davis before the

hearings; and (iii) UNCG relied upon records that were not part of Ms. Davis’ student file or

otherwise provided to her before the hearings and that were used to support her dismissal from

the DNP program. Even after the hearings, UNCG ignored Ms. Davis’ requests (including

requests made pursuant to FERPA) to provide records that were cited at the appeal hearings.

          73.   As a practical matter, UNCG effectively precluded Ms. Davis from having any

meaningful participation in the appeal hearings, in violation of her constitutional and other

rights.

          74.   In early 2019, Ms. Davis’ counsel reminded UNCG and the UNC Board of the

widespread unlawful conduct being taken against Ms. Davis and requested appropriate relief.

UNCG and the UNC Board ignored Ms. Davis’ counsel’s communications.

          75.   UNCG acted arbitrarily, capriciously and in bad-faith in denying Ms. Davis’

appeal at each step, including based upon written correspondence and determinations made by

Dr. Remsburg and Dr. Burke as recently as late May 2019.

          76.   The actions of Defendants in arbitrarily and capriciously dismissing Ms. Davis (or

allowing Ms. Davis to be dismissed) from the DNP Program constitute unlawful retaliation and

have resulted in severe economic losses for Ms. Davis.

          77.   Ms. Davis is experiencing irreparable harm and is threatened with continued

irreparable harm in that her dismissal from the program deprives her of her legal right to attend

classes in pursuit of a master’s degree and career as Nurse Anesthesia.

          78.   Ms. Davis has no adequate remedy at law for said irreparable harm in that Ms.

Davis’ damages cannot be totally determined or accurately sustained. Moreover, Ms. Davis’

harm cannot be adequately compensated with monetary damages.




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                               FIRST CLAIM FOR RELIEF
        (Title IX – Sex Discrimination & Sexually Hostile Educational Environment)

        79.    Paragraphs 1 through 78 above are realleged and incorporated herein by

reference.

        80.    Defendants, through their actions and inactions fostered and condoned a sexually

hostile educational environment that victimized and damaged Ms. Davis.

        81.    Ms. Davis reported and otherwise complained about the unlawful sex

discrimination taken against her.

        82.    The sex-based harassment summarized herein was so severe, pervasive and

objectively offensive that it deprived Ms. Davis of access to educational opportunities or benefits

provided by Defendants.

        83.    Defendants’ officials at the highest levels knew or should have known of the

hostile environment within UNCG’s DNP program but did nothing to investigate or remedy the

misconduct – when action was required by law.

        84.    Defendants, individually and collectively, are responsible for setting and

approving public policy at UNCG and/or administering such policies. At all relevant times,

UNCG’s policies, including complaint procedures, training and reporting, and response

procedures were in violation of Title IX.

        85.    Defendants have engaged in a pattern and practice of conduct designed to

discourage and dissuade students from seeking protection from sex-based discrimination and

retaliation.

        86.    Defendants’ failure to act, failure to provide federally mandated procedures and

protections, created a sexually hostile educational environment for Ms. Davis.

        87.    The harassment and hostile environment which Defendants fostered and



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condoned operated to deny and/or limit Ms. Davis’ ability to participate in or benefit from the

DNP program.

       88.     Defendants’ officials responded to reports of sexual harassment with referrals to

inadequate resolution procedures and suggestions that the victim somehow was at fault.

       89.     Defendants left Ms. Davis to her own skills to avoid further victimization.

       90.     Despite the increased burdens on Ms. Davis, as alleged herein, Defendants held

her to a higher standard than her male peers. Women, including Ms. Davis, were treated

different in the DNP program than their male peers.

       91.     Wherefore, Ms. Davis has been injured as a result of Defendants’ actions in that

she has suffered economic loss, damage to her professional reputation, loss of professional

opportunity, emotional distress and damage to her health.

                               SECOND CLAIM FOR RELIEF
   (Title IX – Retaliation for Reporting, Opposing and Attempting to Remedy a Sexually
                              Hostile Educational Environment)

       92.     Paragraphs 1 through 91 above are realleged and incorporated herein by

reference.

       93.     Ms. Davis engaged in protected activity under Title IX, including by reporting,

opposing and/or attempting to remedy the unlawful conduct referenced herein.

       94.     Ms. Davis faced numerous forms of retaliation throughout her academic

experience based upon her reporting, opposing and attempting to remedy Title IX violations,

including the adverse actions alleged herein.

       95.     Ms. Davis Title IX protected activity was a determinative factor in Defendants’

decision(s) to take adverse actions against her.

       96.     Defendants treated Ms. Davis less favorably than other similarly-situated students




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outside of her protected class(es).

       97.     Due to Defendants’ retaliatory actions, Ms. Davis has incurred substantial

damages, including economic loss, damage to her professional reputation, loss of professional

opportunity, emotional distress and damage to her health.

       98.     The conduct, acts and omissions of Defendants constitute malicious, willful and

wanton conduct or are in reckless disregard and indifference to Ms. Davis’ rights.

                                 THIRD CLAIM FOR RELIEF
                              (42 U.S.C. § 1983 – Equal Protection)

       99.     Paragraphs 1 through 98 above are realleged and incorporated herein by

reference.

       100.    Ms. Davis is a female and a former graduate student of UNCG, a state institution

bound by the Constitution to provide equal protection of the laws.

       101.    The conduct of UNCG employees condoned and fostered by Defendants was

intentional and was sufficiently severe or pervasive as to interfere unreasonably with Ms. Davis’

educational activities.

       102.    Defendants and/or their agents acted under color of state law and according to

policies and procedures under their control.

       103.    Due to Defendants’ retaliatory and unlawful actions, Ms. Davis has incurred

substantial damages, including economic loss, damage to her professional reputation, loss of

professional opportunity, emotional distress and damage to her health.

                               FOURTH CLAIM FOR RELIEF
                          (42 U.S.C. § 1983 – Due Process Violations)

       104.    Paragraphs 1 through 103 above are realleged and incorporated herein by

reference.




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         105.   Ms. Davis had a constitutionally protected liberty and property interest in

completing the educational degree she sought to obtain from UNCG.

         106.   Ms. Davis’ reputation and future career also constitute a constitutionally

recognized property interest.

         107.   Ms. Davis’ summary dismissal from the DNP program was arbitrary and

capricious, motivated by bad-faith and had the effect of depriving Ms. Davis of her rights to

continued education, her reputation and her career.

         108.   Defendants and/or their agents acted under color of state law and according to

policies and procedures under their control.

         109.   Defendants made false charges and allegations about Ms. Davis and left her with

no other mechanism to clear her name but this litigation.

         110.   Further, because Ms. Davis’ dismissal was not based on academic grounds, but

was effectively a dismissal for misconduct, she must be afforded notice and an opportunity to be

heard.

         111.   Defendants denied Ms. Davis due process by creating and/or overseeing a

constitutionally inadequate scheme that:

                a.     Excluded her attorney from a university disciplinary hearing despite Ms.
                       Davis requesting that her attorney attend and state law providing the right
                       to one;

                b.     Discouraged Plaintiff from offering a defense to her appeal of her
                       dismissal;

                c.     Prevented Plaintiff from calling or questioning witnesses;

                d.     Used ambush evidentiary practices to catch Plaintiff off guard in
                       presenting her case;

                e.     Disregarded evidence of unfair treatment to Plaintiff;




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                 f.     Disregarded university appeal procedures in denying Plaintiff’s second
                        appeal;

                 g.     Offered a process that was fundamentally unfair to Plaintiff.

                 h.     Dismissed Plaintiff from the DNP program on arbitrary and capricious
                        grounds;

                 i.     Failed to provide sufficient notice to Plaintiff of the allegations and
                        evidence to be used against her; and

                 j.     Other acts to be proven at trial.

       112.      The actions alleged in the above paragraph further denied Ms. Davis the ability to

participate in a meaningful time in a meaningful manner at the appeal hearings referenced herein,

as they interfered prejudicially with her ability to defend herself from the allegations resulting in

her dismissal.

       113.      Ms. Davis is precluded from seeking monetary damages under 42 U.S.C. § 1983

against a government entity, and the only remedy at law available to Ms. Davis is equitable

relief. As such, Ms. Davis has no remedy at law available and equitable relief is appropriate.

       114.      Ms. Davis’ dismissal from the DNP program is an irreparable injury that likely

precludes her re-admittance to the program through ordinary means and prevents her from

entering a comparable program at another institution to seek the same degree she was seeking at

UNCG.

       115.      Ms. Davis has expended significant resources, time and effort in obtaining a

degree from UNCG in nurse anesthesia. Ms. Davis completed all necessary steps to obtain such

a degree except for a few weeks of clinical courses.

       116.      The decision to dismiss Ms. Davis and not provide her with an opportunity to

remediate was motivated by bad-faith and was in retaliation for her advocacy and protected

activity and not related to her academic performance.



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       117.     Due to Defendants’ actions, Ms. Davis has incurred substantial damages,

including economic loss, damage to her professional reputation, loss of professional opportunity,

emotional distress and damage to her health.

                                 FIFTH CLAIM FOR RELIEF
                                  (N.C. Const. Art. I, Sec. 19)

       118.     The allegations in Paragraphs 1 through 117 are realleged and incorporated herein

by reference.

       119.     Pursuant to the N.C. Const. Art. I, Sec. 19, Ms. Davis has a liberty and property

interest in completing the degree she sought to obtain from Defendants.

       120.     Defendants acted under color of state law in dismissing Ms. Davis from the DNP

program.

       121.     Defendants denied Ms. Davis due process by creating a constitutionally

inadequate scheme that:

                a.     Excluded her attorney from a university disciplinary hearing despite Ms.
                       Davis requesting that her attorney attend and state law providing the right
                       to one;

                b.     Discouraged Plaintiff from offering a defense to her appeal of her
                       dismissal;

                c.     Prevented Plaintiff from calling or questioning witnesses;

                d.     Used ambush evidentiary practices to catch Plaintiff off guard in
                       presenting her case;

                e.     Disregarded evidence of unfair treatment to Plaintiff;

                f.     Disregarded university appeal procedures and denying Plaintiff’s second
                       appeal;

                g.     Offered a process that was fundamentally unfair to Plaintiff.

                h.     Dismissed Plaintiff from the DNP program on arbitrary and capricious
                       grounds;



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                i.     Failed to provide sufficient notice to Plaintiff of the allegations and
                       evidence to be used against her; and

                j.     Other acts to be proven at trial.

         122.   The actions alleged in the above paragraph further denied Ms. Davis the ability to

participate at a meaningful time in a meaningful manner at the hearing on the appeal of her

dismissal, as they interfered prejudicially with her ability to defend herself from the allegations

resulting in her dismissal.

         123.   Ms. Davis’ dismissal from the DNP program is an irreparable injury that likely

precludes her re-admittance to the program and prevents her from entering a comparable

program at another institution to seek the same degree she was seeking at UNCG.

         124.   Ms. Davis has expended significant resources, time and effort in obtaining a

degree from UNCG in nurse anesthesia. Ms. Davis has completed all necessary steps to obtain

such a degree except for completion of a few weeks of clinical courses.

                                 SIXTH CLAIM FOR RELIEF
                                (Americans with Disabilities Act)

         125.   The allegations in Paragraphs 1 through 124 are realleged and incorporated herein

by reference.

         126.   UNCG is a public entity within the meaning of Title II of the ADA, 42 U.S.C. §

12131.

         127.   RSNA acted in concert with UNCG and itself also violated Ms. Davis’ rights

under the ADA.

         128.   Ms. Davis was a qualified disabled individual within the meaning of Title II of the

ADA, 42 U.S.C. § 12131.

         129.   Defendants regarded Ms. Davis as having a mental impairment that limits a major



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life activity (including learning and working), affecting her ability to successfully complete the

MSN program.

       130.     Ms. Davis was and is qualified for the MSN program at UNCG.

       131.     With reasonable accommodation, Ms. Davis was and is capable of completing her

Master’s degree.

       132.     Defendants discriminated against Ms. Davis by treating her differently than other

students based upon her disability.

       133.     Specifically, Defendants discriminated against Plaintiff by refusing to allow her

reasonable accommodations, which it allowed to other disabled students.

       134.     Defendants discriminated against Ms. Davis by refusing to help her resolve the

harassment and discrimination she endured at her clinical rotations.

       135.     Defendants discriminated against Ms. Davis by dismissing her from the DNP

program.

       136.     Defendants discriminated against Ms. Davis by refusing to readmit her to the

DNP program.

       137.     Defendants’ actions constitute a continuing violation of the ADA.

                               SEVENTH CLAIM FOR RELIEF
                    (Disability Discrimination In Violation Of Section 504)

       138.     The allegations in Paragraphs 1 through 137 are realleged and incorporated herein

by reference.

       139.     UNCG is covered by Section 504 of the Rehabilitation Act, as it receives federal

financial assistance. RSNA is also covered for the same reason.

       140.     Ms. Davis was a qualified disabled individual within the meaning of Section 504.

       141.     Ms. Davis was and is qualified for the MSN program at UNCG.



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       142.     With reasonable accommodation, Ms. Davis was and is capable of completing the

MSN program, with a concentration in anesthesiology.

       143.     Defendants discriminated against Ms. Davis by treating her differently than other

students based upon her disability.

       144.     Ms. Davis engaged in protected activity under Section 504.

       145.     Defendants engaged in retaliatory actions when it dismissed Plaintiff.

       146.     Defendants’ actions in dismissing Ms. Davis were sufficient to deter a person of

ordinary firmness from exercising his or her rights.

       147.     Ms. Davis was dismissed as a direct result of her protected activity.

       148.     Specifically, Defendants discriminated against Plaintiff by refusing to allow her

reasonable accommodations, which it allows to other disabled students.

       149.     Defendants discriminated against Ms. Davis by refusing to help her resolve the

harassment and discrimination she endured at her clinical rotations.

       150.     Defendants discriminated against Ms. Davis by dismissing her from the DNP

program.

       151.     Defendants discriminated against Ms. Davis by refusing to readmit her to the

DNP program.

       152.     Defendants’ actions constitute a continuing violation of Section 504.

                                EIGHTH CLAIM FOR RELIEF
                                    (Unjust Enrichment)

       153.     The allegations in Paragraphs 1 through 152 are realleged and incorporated herein

by reference.

       154.     Ms. Davis conferred benefits upon the Defendants, as alleged herein.

       155.     The benefits were not conferred officiously and were justified.



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       156.    The benefits were not made or offered gratuitously.

       157.    The benefits provided are measurable and Defendants consciously accepted the

benefits.

       158.    The benefits provided by Ms. Davis were otherwise conferred on the Defendants

under circumstances which give rise to a legal or equitable obligation on the part of the

Defendants to account for the benefits received.

       WHEREFORE, Ms. Davis respectfully requests the following relief:

       a.      The Court grant a temporary injunction reinstating Ms. Davis to the UNCG Nurse

               Anesthesia program and RSNA;

       b.      The Court grant a permanent injunction reinstating Ms. Davis to the UNCG Nurse

               Anesthesia program and RSNA;

       c.      That she recover from Defendants compensatory, punitive and/or other damages

               as allowed by law, plus interest allowed by law, in an amount to be determined at

               trial;

       d.      That she recover from Defendants the reasonable costs of attorneys’ fees incurred

               in the prosecution of this action, plus interest as allowed by law;

       e.      That all costs of this action be taxed against Defendants;

       f.      That all issues in this case be tried by a jury; and

       g.      For such other and further relief that the Court deems appropriate.




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Respectfully submitted this 2nd day of July, 2019.


                      THE NOBLE LAW FIRM, PLLC

                      /s/ Nicholas J. Sanservino, Jr.
                      Nicholas J. Sanservino, Jr. (N.C. Bar No. 36557)
                      141 Providence Road, Suite 210
                      Chapel Hill, N.C. 27514
                      Telephone:      (919) 251-6008
                      Facsimile:      (919) 869-2079
                      nsanservino@thenoblelaw.com
                      Attorneys for Plaintiff




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